                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:94CR111-12-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                        ORDER
                                    )
DWIGHT LAMONT HUNTER,               )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the Court upon Defendant’s Motion to Reduce or Modify

Sentence. Defendant argues that even though his conviction became final on March 1, 1999, he is

entitled to a re-sentencing under the terms of United States v. Booker due to the fact that the

Government filed a motion for a downward departure based on his post-conviction cooperation, and

this motion was granted after Booker was decided. 543 U.S. 220 (2005). This seriously misconstrues

the law. It is well established that Booker “is not available for post-conviction relief for federal

prisoners ... whose convictions became final before Booker was decided.” United States v. Morris,

429 F.3d 65, 72 (4th Cir. 2005). Moreover, a motion for downward departure under Rule 35(b) of

the Federal Rules of Criminal Procedure, such as the one at issue here, does not affect the date on

which a defendant’s conviction became final. United States v. Sanders, 247 F.3d 144 (4th Cir. 2001).

Thus, the date that Defendant’s conviction became final remains March 1, 1999, well before Booker

was decided, and Booker is inapplicable. This motion is therefore DENIED.
                                                Signed: July 11, 2006
       IT IS SO ORDERED.




      Case 3:94-cr-00111-GCM           Document 973         Filed 07/11/06     Page 1 of 1
